            Case 09-07919-8-RDD              Doc 74 Filed 06/23/10 Entered 06/24/10 10:40:39                            Page 1 of 3
0016-23-EPIE23-00515197-1603274          United  States Bankruptcy Court
                                                                  For The
                                                    EASTERN DISTRICT OF NORTH CAROLINA
          LARRY & FREIDA P. WELLMAN                                                                         Case No.: 09-07919-8-RDD
          404 W. GARNER STREET                                                                                SS #1: XXX-XX-7559
          WILSON, NC 27893                                                                                    SS #2: XXX-XX-7746


                                                FINAL REPORT AND ACCOUNT
      This case was           MO. DAY YR.              The Plan was       MO. DAY YR.                 The Case was       MO. DAY YR.
      commenced on                                     confirmed on                                   concluded on
                              09    14   09                                  01    13   10                                 03   04    10
      Dismissed After Confirmation
     Your trustee has maintained a detailed record of all receipts, including the source or other identification of each receipt and
 of all disbursements. Copies of these detailed records have been filed with the Court, or are attached hereto, and are incorporated
 by reference in this report.
 RECEIPTS: Amount paid to the Trustee by or for the Debtor for benefit of creditors.                                     $           13,000.00
DISBURSEMENTS TO CREDITORS                                                                           AMOUNT PAID                BALANCE
                                                      CLAIM                       AMOUNT
                                                                                                                                  DUE
                                  CREDITOR'S NAME    NUMBER CLASSIFICATION        ALLOWED       PRINCIPAL       INTEREST

AMERICAN GENERAL FINANCIA                              002   Secured               222,516.46          0.00             0.00          DirectPay
AMERICAN GENERAL FINANCIA                              003   Secured                 2,164.51        172.88             0.00           1,991.63
SELECT PORTFOLIO SERVICIN                              004   Secured                55,184.54          0.00             0.00          DirectPay
SELECT PORTFOLIO SERVICIN                              005   Secured                 1,887.50        150.75             0.00           1,736.75
AMERICAN GENERAL FINANCE                               006   Secured                54,834.57          0.00             0.00          DirectPay
AMERICAN GENERAL FINANCE                               007   Secured                   367.15         29.33             0.00             337.82
AMERICAN GENERAL FINANCE                               008   Secured                71,586.24          0.00             0.00          DirectPay
AMERICAN GENERAL FINANCE                               009   Secured                     0.00          0.00             0.00               0.00
AMERICAN GENERAL FINANCE                               010   Secured                69,272.96          0.00             0.00          DirectPay
AMERICAN GENERAL FINANCE                               011   Secured                    85.68          6.85             0.00              78.83
BADCOCK FURNITURE                                      012   Secured                     0.00          0.00             0.00           Not Filed
JPMORGAN CHASE BANK NA                                 016   Secured                40,380.77          0.00             0.00          DirectPay
JPMORGAN CHASE BANK NA                                 017   Secured                    59.61         59.61             0.00               0.00
GMAC                                                   020   Secured                22,215.79          0.00             0.00          DirectPay
GMAC                                                   021   Secured                 1,050.00         83.86             0.00             966.14
AMERICAN GENERAL FINANCE                               027   Secured                87,381.70          0.00             0.00          DirectPay
SECURITY FINANCIAL SERVIC                              030   Secured                 2,325.93        120.62            70.81           2,205.31
SUNTRUST BANK                                          034   Secured                60,084.65          0.00             0.00          DirectPay
SUNTRUST BANK                                          035   Secured                     0.00          0.00             0.00               0.00
INTERNAL REVENUE SERVICE                               025   Priority              171,234.35          0.00             0.00         171,234.35
NC DEPT OF REVENUE                                     028   Priority                8,961.65          0.00             0.00           8,961.65
WILSON COUNTY TAX COLLECT                              036   Priority                1,342.82          0.00             0.00           1,342.82
AMERICAN GENERAL                                       001   Unsecured                   0.00          0.00             0.00           Not Filed
PRA RECEIVABLES MANAGEMEN                              013   Unsecured               9,947.70          0.00             0.00               0.00
CAPITAL ONE                                            014   Unsecured                   0.00          0.00             0.00           Not Filed
CAPITAL ONE                                            015   Unsecured                   0.00          0.00             0.00           Not Filed
CITIFINANCIAL                                          018   Unsecured               8,580.15          0.00             0.00               0.00
PRA RECEIVABLES MANAGEMEN                              019   Unsecured               1,038.27          0.00             0.00               0.00
HOME CREDIT CORPORATION                                022   Unsecured                   0.00          0.00             0.00           Not Filed
PRA RECEIVABLES MANAGEMEN                              023   Unsecured              12,555.16          0.00             0.00               0.00
IC SYSTEM INC                                          024   Unsecured               1,950.84          0.00             0.00               0.00
WELTMAN, WEINBERG & REIS                               026   Secured                 1,042.97         54.11            31.73             988.86
PRA RECEIVABLES MANAGEMEN                              029   Unsecured               1,034.44          0.00             0.00               0.00
SLM FINANCIAL                                          031   Unsecured                   0.00          0.00             0.00           Not Filed
SOUTHERN LOANS INC                                     032   Unsecured               1,516.20          0.00             0.00               0.00
SOUTHERN LOANS                                         033   Unsecured                   0.00          0.00             0.00           Not Filed
KIMBERLY A SHEEK                                       037   Unsecured                   0.00          0.00             0.00               0.00
GMAC                                                   038   Secured                 5,952.03          0.00             0.00          DirectPay

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          404 W. GARNER STREET                                                                                SS #1: XXX-XX-7559
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DISBURSEMENTS TO CREDITORS                                                                           AMOUNT PAID                BALANCE
                                                      CLAIM                       AMOUNT
                                                                                                                                  DUE
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WS BADCOCK CORPORATION                                 039   Secured                   687.71          35.66           20.94            652.05
WS BADCOCK CORPORATION                                 040   Unsecured                   0.00           0.00            0.00              0.00
AMERICAN GENERAL FINANCE                               041   Secured                 1,956.31         156.25            0.00          1,800.06
INTERNAL REVENUE SERVICE                               025   Unsecured               9,135.20           0.00            0.00              0.00
INTERNAL REVENUE SERVICE                               025   Secured               101,842.81       5,282.08        3,099.61         96,560.73
INTERNAL REVENUE SERVICE                               042   Unsecured                   0.00           0.00            0.00              0.00
CITIFINANCIAL INC                                      043   Unsecured                   0.00           0.00            0.00              0.00
PRA RECEIVABLES MANAGEMEN                              044   Unsecured                   0.00           0.00            0.00              0.00
WILSON COUNTY TAX COLLECT                              036   Secured                14,311.93       1,143.08            0.00         13,168.85
PRA RECEIVABLES MANAGEMEN                              045   Unsecured                   0.00           0.00            0.00              0.00
PRA RECEIVABLES MANAGEMEN                              046   Unsecured               3,790.10           0.00            0.00              0.00
SPRINT NEXTEL                                          047   Unsecured                 198.11           0.00            0.00              0.00
SPRINT NEXTEL                                          048   Unsecured                   0.00           0.00            0.00              0.00
CHASE                                                  049   Unsecured                   0.00           0.00            0.00          Not Filed
GMAC                                                   050   Unsecured                   0.00           0.00            0.00          Not Filed
GE MONEY BANK                                          051   Secured                 2,810.00         145.76           85.50          2,664.24
GE MONEY BANK                                          051   Unsecured                 286.76           0.00            0.00              0.00
NC DEPT OF REVENUE                                     028   Unsecured               6,177.16           0.00            0.00              0.00




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                                                                                                                                               DUE
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LARRY & FREIDA P. WELLMAN                                    999    Refund                         0.00             0.00              0.00                0.00

SUMMARY OF CLAIMS ALLOWED AND PAID:

                        SECURED             PRIORITY               GENERAL               LATE             SPECIAL             TOTAL
AMOUNT ALLOWED            130,592.11            181,538.82           56,210.09                  0.00              0.00        368,341.02      TOTAL PAID
                                                                                                                                              PRINCIPAL
 PRINCIPAL PAID             7,440.84                  0.00                0.00                  0.00              0.00          7,440.84     AND INTEREST

 INTEREST PAID               3,308.59                  0.00                 0.00                0.00              0.00          3,308.59          10,749.43
OTHER DISBURSEMENT UNDER ORDER OF COURT
                                    DEBTOR'S ATTORNEY                               FEE ALLOWED                                 FEE PAID

                                   PEGGY S. LEVIN                                         3,000.00                             1,210.59
 COURT COSTS AND                                 ADDITIONAL CHARGES                                TRUSTEE
  OTHER EXPENSES          FILING FEE                                                                                          OTHER
                                                  CLERK'S          .25 EACH CLAIM        EXPENSE          COMPENSATION
 OF ADMINISTRATION       AND DEPOSIT                                                                          FUND
                                                                                                                              COST
                                                 CHARGES               OVER 10            FUND

                                    0.00                0.00                                519.99             519.99              0.00                 1,039.98

       WHEREFORE, your Petitioner prays that a Final Decree be entered discharging your Petitioner as Trustee and releasing your
Petitioner and The Trustee's surety from any and all liability on account of the within proceedings, and closing the estate, and for such
other and further relief as is just. Pursuant to FRBP 5009, I hereby certify that the above captioned case has been fully administered.



                                                                                                           Robert R. Browning
                                                                                                           P.O. Box 8248
                                                                                                           Greenville, NC 27834




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